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                                   STATEMENT OF FACTS

        Your affiant is a Special Agent with the Federal Bureau of Investigation (FBI) and I am
currently assigned to the Albuquerque, New Mexico Office. Currently, I am tasked with
investigating criminal activity in and around the U.S. Capitol grounds on January 6, 2021. As a
Special Agent, I am authorized by law or by a Government agency to engage in or supervise the
prevention, detection, investigation, and prosecution of violations of Federal criminal laws.

       The U.S. Capitol is secured 24 hours a day by U.S. Capitol Police. Restrictions around the
U.S. Capitol include permanent and temporary security barriers and posts manned by U.S. Capitol
Police. Only authorized people with appropriate identification are allowed access inside the U.S.
Capitol. On January 6, 2021, the exterior plaza of the U.S. Capitol was also closed to members of
the public.

        On January 6, 2021, a joint session of the United States Congress convened at the U.S.
Capitol, which is located at First Street, SE, in Washington, D.C. During the joint session, elected
members of the United States House of Representatives and the United States Senate were meeting
in separate chambers of the United States Capitol to certify the vote count of the Electoral College
of the 2020 Presidential Election, which had taken place on November 3, 2020. The joint session
began at approximately 1:00 p.m. Shortly thereafter, by approximately 1:30 p.m., the House and
Senate adjourned to separate chambers to resolve a particular objection. Vice President Mike
Pence was present and presiding, first in the joint session, and then in the Senate chamber.

       As the proceedings continued in both the House and the Senate, and with Vice President
Mike Pence present and presiding over the Senate, a large crowd gathered outside the U.S. Capitol.
As noted above, temporary and permanent barricades were in place around the exterior of the U.S.
Capitol building, and U.S. Capitol Police were present and attempting to keep the crowd away
from the Capitol building and the proceedings underway inside.

        At such time, the certification proceedings were still underway and the exterior doors and
windows of the U.S. Capitol were locked or otherwise secured. Members of the U.S. Capitol
Police attempted to maintain order and keep the crowd from entering the Capitol; however, shortly
after 2:00 p.m., individuals in the crowd forced entry into the U.S. Capitol, including by breaking
windows and by assaulting members of the U.S. Capitol Police, as others in the crowd encouraged
and assisted those acts.

       Shortly thereafter, at approximately 2:20 p.m., members of the United States House of
Representatives and United States Senate, including the President of the Senate, Vice President
Mike Pence, were instructed to—and did—evacuate the chambers. Accordingly, the joint session
of the United States Congress was effectively suspended until shortly after 8:00 p.m. Vice
President Pence remained in the United States Capitol from the time he was evacuated from the
Senate Chamber until the sessions resumed.

       During national news coverage of the aforementioned events, video footage which
appeared to be captured on mobile devices of persons present on the scene depicted evidence of
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violations of local and federal law, including scores of individuals inside the U.S. Capitol building
without authority to be there.

             Evidence Linking SHAWN WITZEMANN to Assault on the U.S. Capitol

       On or about January 15, 2021, the Federal Bureau of Investigation (FBI) received a tip in
the form of a link to a Facebook page that contained a video that was taken on January 6, 2021
from inside the Capitol building. The video was posted to the Facebook page of The Armenian
Council for Truth in Journalism by an Instagram user with the username “@krampusnatch.” The
caption for the video read, in part, “moments ago… Shawn was inside the capitol building!”
Through open source investigation, the FBI was able to determine that SHAWN BRADLEY
WITZEMANN (“WITZEMANN”) was the registered Instagram user of “@krampusnatch.” A
screenshot of the video uploaded to Facebook is shown below.




       On or about January 15, 2021, WITZEMANN provided a voluntary video recorded
statement to your affiant at the FBI office in Farmington, New Mexico. During the interview,
WITZEMANN admitted to being inside of the Capitol building on January 6, 2021.
WITZEMANN stated that he travels to demonstrations and protests to provide live-streaming
video coverage. WITZEMANN also stated that he participates in a podcast every night called “The
Armenian Council for Truth in Journalism.” WITZEMANN informed the FBI that he traveled to
Washington, D.C. on or about January 4, 2021, and stayed at the Hilton Garden Inn near the U.S.
Capitol. On January 6, 2021, WITZEMANN attended the rally for President Trump, and then, at
approximately 1:00 p.m., he marched to the Capitol building.
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        WITZEMANN further stated that he made it to the top of the stairs, on what he described
as a “patio” near the front entrance of the Capitol building. He observed Capitol Police walking
around, and then attempted to climb up scaffolding to get a better view of the crowd with his cell
phone camera. He came down off the scaffolding after a police officer told him to get down.
WITZEMANN stated that he then walked to the north entrance of the Capitol building and entered
there at approximately 2:30 p.m. WITZEMANN made his way to the rotunda of the Capitol
building. While inside the Capitol building, WITZEMANN used his cell phone to make video
recordings. WITZEMANN stated that at approximately 4:30 p.m., after being told by a police
officer to leave, he left the Capitol building through what he believed were the back doors. On or
about January 7, 2021, WITZEMANN rented a vehicle, left Washington, D.C., and drove back
home.

       On or about January 19, 2021, WITZEMANN sent three video files via e-mail to the FBI.
The videos were taken by WITZEMANN from inside the Capitol building on January 6, 2021.
The two images below are a sampling of screenshots from the videos provided by WITZEMANN.
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       Law enforcement reviewed and collected video provided by the U.S. Capitol Police, which
includes footage recorded by police officers’ body worn cameras (“BWC”). While reviewing this
video footage, your affiant observed an individual who appears to be WITZEMANN using his cell
phone to record video from inside the Capitol building from approximately 3:24 p.m. to 3:26 p.m.
The following images are a sampling of screenshots obtained from the BWC footage.
WITZEMANN is circled in red.




        Based on the aforementioned evidence, there is probable cause to believe that
WITZEMANN was present inside the U.S. Capitol building during the riot and related offenses
that occurred at the U.S. Capitol building, located at 1 First Street, NW, Washington, D.C. 20510
on January 6, 2021 and participated in the obstruction of the Congressional proceedings.
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         Accordingly, your affiant submits that there is probable cause to believe that
WITZEMANN violated 18 U.S.C. § 1752(a)(1) and (2), which makes it a crime to (1) knowingly
enter or remain in any restricted building or grounds without lawful authority to do so; and (2)
knowingly, and with intent to impede or disrupt the orderly conduct of Government business or
official functions, engage in disorderly or disruptive conduct in, or within such proximity to, any
restricted building or grounds when, or so that, such conduct, in fact, impedes or disrupts the
orderly conduct of Government business or official functions; or attempts or conspires to do so.
For purposes of Section 1752 of Title 18, a “restricted building” includes a posted, cordoned off,
or otherwise restricted area of a building or grounds where the President or other person protected
by the Secret Service, including the Vice President, is or will be temporarily visiting; or any
building or grounds so restricted in conjunction with an event designated as a special event of
national significance.

        Your affiant submits there is also probable cause to believe that WITZEMANN violated
40 U.S.C. § 5104(e)(2)(D) and (G), which makes it a crime to willfully and knowingly (D) utter
loud, threatening, or abusive language, or engage in disorderly or disruptive conduct, at any place
in the Grounds or in any of the Capitol Buildings with the intent to impede, disrupt, or disturb the
orderly conduct of a session of Congress or either House of Congress, or the orderly conduct in
that building of a hearing before, or any deliberations of, a committee of Congress or either House
of Congress; and (G) parade, demonstrate, or picket in any of the Capitol Buildings.




Attested to by the applicant in accordance with the requirements of Fed. R. Crim. P. 4.1
by telephone, this 1st day of April 2021.

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___________________________________
HON. ROBIN M. MERIWEATHER
U.S. MAGISTRATE JUDGE
